













Opinion issued March 23, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00915-CV
____________

J.T. DOKE, PHYLLIS DOKE; AND INTERVENORS, ARSAR,
L.P.;SEESAR, L.P.; AND CRSRM, L.L.C., Appellants

V.

T. DOE, BY AND THROUGH HER NEXT FRIENDS, F. DOE AND S. DOE,
Appellee




On Appeal from the 212th District Court
Galveston County, Texas
Trial Court Cause No. 2005CV0904




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants have filed a motion to dismiss their appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Alcala.


